What these meetings are not:

1. This is not a plea negotiations nor is it a proffer of any sort.
2. He is not seeking any kind of immunity or protection, because as it has already been agreed, he
has committed no crime and faces no prosecution.

What these meetings are:

3. He Is cooperating wit'v his-country because-eur country Belleve thet HE possesses inportant and
valuable information and he is willing to share.
4. All he wants for his cooperation is protecting his family.
a. Itis fully recognized that the act of cooperation not only endangers him, but also his
family.
b. Protecting his family only requires moving his mother and father to this country from
their homeland and
¢. Temporarily and immediately ensuring that his two children, American born citizens,
currently living in Canada will not be moved to any other country than the US.
d. Obtaining custody of his children in the United States.
e. The question of the witness protection program has not yet been discussed.

The problem:

5. The dilemma is that the government wantshis information before making any commitment and
he wants the protection of a commitment from someone in authority that his family interests
will be protected ‘before he provides ail of his information. _

a. At the present time he has met once and has made clear from his first utterance the
facts that open him up as a trustworthy source of information to protect the United
States. .

b. Our government wants him to break down various “walls” with important information.
He is willing to do so.

c. But he also is facing “walls” when talking to his own country and they need be broken
down as well.

6. One of the problems is hierarchical. He is the only person in his chain of command, Whatever
he decides to do, he will do. What interviewers propose doing for him, require approval from
higher ups. We have never met those higher ups.

7. Finally, we need to deal with the perception of the power of the agencies involved. One side
considers the agency to have a great deal of ae and the agency suggest that it has very little
power. That is a big problem.

8. _ifitis true that our agency can’t net- aimee considerations because of lack of
power or lack of will the motivation to contirlue talking fades. And that is even truer if the
agency has the power but is not committed to using it.

Solving problems is crucial and the agency’s role in that is the central issue.

For instance proposing that he obtains a lawyer and persuades the mother of his children to enter into a
visitation agreement and which would thereby allow the children to visit him in the United States, ,
offers nothing more than what he could have done without jeopardizing himself and exposing his family.
